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                      UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION

UNITED STATES OF AMERICA,       :     CRIMINAL NO. 1:04-cr-00085
          PLAINTIFF,            :
                                :
          v.                    :
                                :
                                :
SOLOMON LAWSON, et al.,         :
          DEFENDANTS.           :
                 - - - - - - - - - - - - - - - -

                   PRELIMINARY ORDER OF FORFEITURE

     On April 5, 2005, defendant Solomon Lawson pled guilty to

Count 1 of the Indictment charging him with violating 21 U.S.C.

§§ 841(a)(1), (b)(1)(A) and (b)(1)(C).           A forfeiture allegation

relating to Count 1 of the Indictment contained notice to the

defendant that the United States would seek the forfeiture of the

following property (“the subject property”) as part of any

sentence in accordance with Fed. R. Crim. P. 32.2 because such

property is subject to forfeiture to the United States under 21

U.S.C. § 853(a) and represents property constituting or derived

from proceeds and/or property used or intended to be used to

commit or to promote the commission of offenses in violation of

21 U.S.C. §§    841(a)(1), (b)(1)(A) and (b)(1)(C):

Real Property:

Real property known and numbered as 2031 Vine Street, Cincinnati,

Hamilton County, Ohio 45202 with all appurtenances, improvements,

and attachments thereon, which is more fully described as

follows:
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     SITUATE IN THE CITY OF CINCINNATI, COUNTY OF HAMILTON,
     STATE OF OHIO AND BEING MORE PARTICULARLY DESCRIBED AS
     FOLLOWS:

     BEGINNING AT A POINT IN THE WEST LINE OF VINE STREET,
     52 FEET NORTH OF THE INTERSECTION OF THE SOUTH LINE OF
     LOT NO. 10 OF E.B. REEDER’S SUBDIVISION, RECORDED IN
     DEED BOOK 91, PAGE 266 OF THE HAMILTON COUNTY, OHIO
     RECORDS; THENCE IN THE WEST LINE OF VINE STREET, NORTH
     14/ 09' EAST 20.00 FEET; THENCE NORTH 75/33' WEST 40.00
     FEET TO A POINT; THENCE NORTH 77/ 00' WEST 29.72 FEET
     TO THE EAST LINE OF OHIO AVENUE; THENCE IN SAID EAST
     LINE SOUTH 20/00' WEST 19.34 FEET; THENCE SOUTH 75/33'
     EAST 71.70 FEET TO THE PLACE OF BEGINNING.

     PPN: 095-0005-0023-00
     Property address: 2031 Vine Street, Cincinnati, Ohio
     45210
     Prior Certificate #: 197115

     The record owner is Solomon Lawson. The approximate
     value is $20,700.


Firearm:

A Glock, 9mm, Model # 17, Serial Number BT918US with ammunition,

seized by the IRS on June 15, 2004, from Solomon Lawson.

Currency:

One Thousand Three Hundred Fifty Dollars in U. S. Currency

($1,350.00), seized by the Drug Abuse Reduction Task Force on

June 15, 2004 from Solomon Lawson.

Vehicle:

A 1995 Land Rover Discovery, VIN#SALJY1244SA160875, with all

attachments thereon. The IRS seized the vehicle on June 15, 2004,

from Solomon Lawson.

     On April 5, 2005, Solomon Lawson pled guilty to Count 1 of

the Indictment which includes a related Forfeiture Allegation.


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Under the terms of the Plea Agreement, the defendant agreed to

forfeit the property described in the Bill of Particulars to the

United States and to assist the United States in resolving in its

favor any third-party claims to the property.

         Therefore, pursuant to Fed.R.Crim.P. 32.2,

     IT IS ORDERED that all right, title, and interest of the

defendant in the subject property is condemned and forfeited to

the United States pursuant to 21 U.S.C. § 853(a) and this Order

of Forfeiture is final as to Solomon Lawson.             The forfeiture of

all right, title, and interest of Solomon Lawson shall also be

made part of the sentence and included in the judgment.

     IT IS FURTHER ORDERED that the Department of the Treasury

seize and take custody of the subject property and hold the same

in its custody pending the resolution of third-party interests in

the subject property, if there be any.

     IT IS FURTHER ORDERED that the United States conduct any

discovery the Court considers proper in identifying, locating, or

disposing of the property.

     IT IS FURTHER ORDERED that the United States provide direct

written notice of the Preliminary Order of Forfeiture of the

subject property and of the United States' intent to dispose of

the subject property to all persons known to have an alleged

interest in the subject property, except to the defendant, whose

interest has already been ordered forfeited, and provide notice


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by publication in the Cincinnati Court Index Press, a newspaper

of general circulation in this district.            Such notice shall

indicate that any person or entity asserting a legal interest in

the subject property must submit to the Clerk of this Court, 103

Potter Stewart U.S. Courthouse, 100 East Fifth Street,

Cincinnati, Ohio 45202, with a copy to Assistant United States

Attorney, Kenneth Parker, 221 East Fourth Street, Suite 400,

Cincinnati, Ohio 45202, not more that thirty (30) days from the

date of actual service of the notice or the final date of

publication, whichever occurs first, a petition for a hearing to

adjudicate the validity of the alleged interest in the subject

property.

     Parties claiming a legal interest in the subject property

shall be entitled to a hearing before this Court, without a jury,

for determination of the validity of any alleged interests.

     Upon the resolution of third-party interests, if there be

any, this Court shall enter a Final Order of Forfeiture

confirming in the United States all right, title, and interest in

the subject property.




June 1, 2005                        s/S. Arthur Spiegel
Date                                S. Arthur Spiegel
                                    Senior United States District Judge


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